UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                :
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                   - v. -                               : S1 23 Cr. 251 (AKH)
                                                        :
CHARLIE JAVICE and                                      :
OLIVIER AMAR,                                           :
                                                        :
                            Defendants.                 :
                                                        :
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THE GOVERNMENT’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
              CHARLIE JAVICE’S MOTION TO SEVER




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                               PRELIMINARY STATEMENT
       Eighteen months after the Superseding Indictment in this case was filed, and just four

weeks before trial is scheduled to begin, defendant Charlie Javice moves to sever her trial from

her co-defendant Olivier Amar. For the reasons set forth below, Javice’s motion should be

denied. Her conclusory allegations that she and Amar have mutually antagonistic defenses are

unsupported, and she identifies no prejudice—let alone the type of prejudice that would warrant

the extraordinary relief she seeks—to justify her eleventh-hour request. Severance, moreover,

would result in a significant waste of judicial resources and jurors’ time, requiring the Court to

hold two nearly identical trials, each of which would be approximately four weeks in length.

Accordingly, the Court should deny Javice’s motion and trial should commence—for both

defendants—on February 10, 2025.

                                       BACKGROUND
       On July 12, 2023, a grand jury in this district returned a Superseding Indictment (the

“Superseding Indictment”) charging Amar and Javice, in four counts, with participating in a

calculated scheme to falsely and dramatically inflate the number of customers of their company,

Frank, in order to fraudulently induce J.P. Morgan Chase (“JPMC”) to acquire Frank for $175

million. Trial is scheduled to begin on February 10, 2025.

       The Government’s case-in-chief is expectedly to last approximately four weeks and

include roughly twenty-five witnesses and numerous exhibits. As detailed in other pretrial

filings, the evidence as to Javice and Amar is deeply intertwined. The Governments expects that

its evidence will show that Javice and Amar were close confidants who worked hand-in-glove in

their scheme to repeatedly lie to JPMC and other potential acquirors about Frank’s customer

base. Javice and Amar also worked together to cover up their fraud. For example, they tried to
convince an engineer at Frank to create a fake data set designed to inflate Frank’s actual

customer base, using Frank’s actual starting customer base (which was approximately 300,000

customers) as a model. The engineer, who understood that the request related to a potential

investment in Frank, refused, and asked the defendants if their request was illegal. Javice then

engaged a data scientist to create the fake data set to satisfy JPMC’s data validation request in

due diligence. Javice lied to the data scientist, telling him that she had 4.25 million users, and

needed a data set of 4.25 million users that matched the statistical features of her user base while

removing personal identifiable information. At the same time, Amar purchased millions of

student records from data providers. After Amar secured those records, he wrote to Javice:

“You’ll have 4.5m users today. Just closed it. . . . 2.3 cents per user. 105k price.” Javice,

“perfect . . . love you :-).” Then, in January 2022, when JPMC sought to market to Frank’s users,

the defendants passed off the purchased data as their own.

       On January 10, 2025, Javice moved to sever her trial from Amar’s, claiming that she and

Amar now have mutually antagonistic defenses. While portions of Javice’s brief were submitted

ex parte and heavily redacted from the government, the following is apparent. Javice intends to

argue, generally, “that any representations made to JPMC”—and presumably other potential

buyers of Frank, like the institution identified in the Superseding Indictment as Bank-1—“were

either (1) not false or (2) not intentionally false or misleading.” (Br. at 1). Javice has redacted

and withheld from the Government what supposedly mutually antagonistic arguments Amar is

going to make, see id. at 1-2, 3, 4-6, 8-9, but asserts that Amar will argue that Javice “concealed

information and deceived him.” (Br. at 7). In her motion, Javice contends that this argument

turns Amar into a “second prosecutor.” (Id.).



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To the contrary, granting severance would result in two lengthy trials in which the Government

would be required to introduce virtually identical testimony and exhibits—an outcome which

would waste judicial resources, greatly burden witnesses, lead to delays in bringing at least one

of the defendants to trial, and otherwise run counter to the compelling interest in trying jointly

indicted defendants together.

           A. Applicable Law

               1. Rule 14

       Rule 14 permits severance of properly joined defendants based on prejudice to a

defendant or the Government.      However, “defendants are not entitled to severance merely

because they may have a better chance of acquittal in separate trials.” 2 Zafiro v. United States,

506 U.S. 534, 540 (1993). A “disparity in the quantity of evidence and of proof of culpability are

inevitable in any multi-defendant trial, and by themselves do not warrant a severance.” United

States v. Cardascia, 951 F.2d 474, 483 (2d Cir. 1991); see also United States v. Carson, 702 F.2d

351, 366-67 (2d Cir. 1983) (“[D]iffering levels of culpability and proof are inevitable in any

multi-defendant trial and, standing alone, are insufficient grounds for separate trials.”).

Similarly, “[t]he fact that evidence may be admissible against one defendant but not against

others does not require separate trials.” United States v. Rucker, 586 F.2d 899, 902 (2d Cir.

1978); see also United States v. Rittweger, 524 F.3d 171, 179 (2d Cir. 2008); Carson, 702 F.2d at

367.

       Even where a defendant may be prejudiced by joinder, the question under Rule 14 is

whether that prejudice “is sufficiently severe to outweigh the judicial economy that would be

realized by avoiding lengthy multiple trials.” United States v. Lanza, 790 F.2d 1015, 1019 (2d

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       Unless otherwise indicated, all quotations omit internal quotation marks, citations, and
previous alterations.
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Cir. 1986). The Supreme Court has made plain that “[t]here is a preference in the federal system

for joint trials of defendants who are indicted together.”        Zafiro, 506 U.S. at 537.      “This

preference is particularly strong where . . . the defendants are alleged to have participated in a

common plan or scheme.” United States v. Salameh, 152 F.3d 88, 115 (2d Cir. 1998).

       This preference reflects a settled precept in criminal law: “Joint trials play a vital role in

the criminal justice system, as they promote efficiency and serve the interests of justice by

avoiding the scandal and inequity of inconsistent verdicts . . . .” United States v. O’Connor, 650

F.3d 839, 858 (2d Cir. 2011). Joint trials also “limit inconveniences to witnesses, avoid delays in

bringing defendants to trial and permit the entire story to be presented to a single jury.” Barret,

824 F. Supp. 2d at 432; see also United States v. Lyles, 593 F.2d 182, 191 (2d Cir. 1979) (a joint

trial “conserves judicial resources, alleviates the burden on citizens serving as jurors, and avoids

the necessity of having witnesses reiterate testimony in a series of trials”).

       In light of these considerations, the Supreme Court has set a high bar for severance for

properly joined defendants, 3 such that a severance motion should be granted only when “there is

a serious risk that a joint trial would compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at

539. Accordingly, “[t]he principles that guide the district court’s consideration of a motion for

severance usually counsel denial.” United States v. Rosa, 11 F.3d 315, 341 (2d Cir. 1993). “[A]

defendant seeking severance under Rule 14 bears an extremely difficult burden of proving . . .

that the prejudice would be so great as to deprive him of his right to a fair trial.” Barret, 824 F.

Supp. 2d at 433; see also Rosa, 11 F.3d at 341 (denial of severance motion is improper only




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       Javice does not dispute that joinder is proper under Rule 8(b).
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where defendant will incur “prejudice so severe that his conviction [would] constitute[] a

miscarriage of justice”).

       Whether to grant a motion to sever is committed to the sound discretion of the district

court. Barret, 824 F. Supp. 2d at 433; see also United States v. Guillen-Rivas, 950 F. Supp. 2d

446, 457 (E.D.N.Y. 2013) (setting forth factors for consideration in deciding motion to sever).

               2. Severance Based on Mutually Antagonistic Defenses

       The mere fact that two defendants advance defenses that are adversarial to one another

“clearly does not, alone, require trials to be severed. Were this true, a virtual ban on multi-

defendant conspiracy trials would ensue since co-conspirators raise many different and

conflicting defenses.” Cardascia, 951 F.2d at 484-85. Moreover, “[m]ere fingerpointing does

not require severance.” United States v. Casamento, 887 F.2d 1141, 1154 (2d Cir. 1989); see also

United States v. Serpoosh, 919 F.2d 835, 837 (2d Cir. 1990) (“The mere fact that codefendants

seek to place the blame on each other is not the sort of antagonism that requires a severance.”).

       The term “mutually antagonistic” has been adopted to describe a narrow category of

adversarial defenses where “accepting one defense requires that the jury must of necessity

convict a second defendant.” United States v. Yousef, 327 F.3d 56, 151 (2d Cir. 2003) (emphasis

added); see also Zafiro, 506 U.S. at 542 (Stevens, J., concurring) (describing “mutually

antagonistic” defenses as those as to which “acceptance of one . . . necessarily preclude[s]

acceptance of the other and acquittal of the codefendant”).

       However, the Supreme Court has held that even “mutually antagonistic defenses are not

prejudicial per se,” and that severance is not required when defendants adopt antagonistic

defenses “even if prejudice is shown.” Zafiro, 506 U.S. at 538-39. Rather, when defendants

adopt mutually antagonistic defenses, severance is appropriate only if defendants can

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demonstrate “a serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or innocence.” Id. at

539; see also United States v. Scott, 637 F. App’x 10, 13 (2d Cir. 2015) (summary order) (“It is

not enough to demonstrate that separate trials would have increased the chances of the

appellant’s acquittal . . . the defendant must instead show prejudice so severe that his conviction

constituted a miscarriage of justice and amounted to a denial of a constitutionally fair trial.”).

“In those rare instances where a defendant establishes a ‘high’ risk of prejudice, however, ‘less

drastic measures, such as limiting instructions, often will suffice to cure any risk of prejudice.’”

United States v. Abakporo, No. 12-CR-340 (SAS), 2013 WL 6188260, at *3 (S.D.N.Y. Nov. 25,

2013).

         Accordingly, to determine if severance is warranted on the basis of asserted antagonistic

defenses, the Court must undertake a three-step analysis. First, the Court must determine

whether the adversarial defenses are in fact “mutually antagonistic,” such that acceptance of one

defense necessarily precludes the acceptance of the other, or if they are merely “finger pointing.”

Second, the Court must determine whether, if the defenses are in fact “mutually antagonistic,”

such defenses are “prejudicial” to one or both defendants. And finally, even if the Court

determines that one or both defendants might suffer prejudice as a result of a joint trial, the Court

must find that there is a serious risk that a “joint trial would compromise a specific trial right” or

“prevent the jury from making a reliable judgment” about the defendants’ guilt or innocence that

cannot be mitigated by a less drastic measure than severance, such as through limiting

instructions. Zafiro, 506 U.S. at 538-39.




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           B. The Defenses Are Not Mutually Antagonistic

       Javice claims that her and Amar’s defenses are mutually antagonistic because, as best as

the Government can discern from Javice’s heavily-redacted brief, 4 Amar will now argue that

Javice concealed information and lied to Amar, while Javice will argue that any representations

she made to JPMC were either not false or not intentionally false or misleading. These defenses

are not mutually antagonistic, and the Court can deny Javice’s motion on this basis alone.

               1. The Proffered Defenses Are Not Mutually Antagonistic

       As a factual matter, the asserted “antagonism” between the defendants’ arguments

appears to be vastly overstated. What the Government can discern, from Javice’s redacted brief,

of Amar’s arguments with respect to his intent and knowledge is not at all mutually antagonistic

to Javice’s defenses. For example, Javice asserts that




                                               If these arguments are accepted, they are entirely

consistent with Javice’s defense that she did not make false representations or that any

representations were not intentionally false or misleading. In other words, accepting Amar’s

defense does not necessarily require that the jury must, “of necessity,” convict Javice. Yousef,

327 F.3d at 151

       Nor is there anything mutually antagonistic if Amar were to argue that Javice concealed

information from him. A jury, for example, could credit Amar’s arguments that Javice left him in

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       As set forth in Section D, infra, the Government objects to Javice’s ex parte submission.

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the dark, and that Amar relied on her, but also conclude that Javice did not have an intent to

defraud. In this case, criminal liability will turn on what, if anything, each defendant knew and

intended with respect to representations regarding Frank’s user base. “While Defendants may

present different theories to the jury and may disagree about one or more of the underlying facts,

each defendant could be acquitted (or convicted) under either side’s presentation of the facts.”

United States v. Tuzman, 301 F. Supp. 3d 430, 444 (S.D.N.Y. 2017); Cardascia, 951 F.2d at 485

(“Thus, the essence of both defenses—that each defendant was not involved in the conspiracy—

plainly is typical of co-conspirator trials and does not warrant severance.”).

       Similarly, the suggestion in Javice’s brief that Amar will argue or concede that Javice is

“guilty” or that a crime was in fact committed also appears overstated (from what the

Government can discern from the redacted brief). (Br. at 4). Were Amar to adopt that position at

trial, such a concession would be a significant one given the charged offenses and in light of

documentary evidence and anticipated testimony that cannot be reasonably subject to dispute.

While Javice may have been in more pitch or diligence meetings with JPMC than Amar was, the

same is simply not true for the meetings with Bank-1.             In meetings with Bank-1 held

immediately before and contemporaneous to the JPMC acquisition process, Javice and Amar

together and repeatedly misrepresented the number of accounts and FAFSA users that Frank had.

As a result, argument from Amar focused on the fact that in certain pitch or diligence meetings

with JPMC—held concurrently or days apart from the meetings in which Javice and Amar

together told lies to Bank-1—Javice also told the same lies by herself is unlikely to be a viable

defense actually pursued at trial by Amar.




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               2. Javice’s Characterizations Rely on Faulty Assumptions on the Admissibility
                  of Such a Defense

       Javice’s characterizations of Amar’s defense rely on the faulty assumption that there are

no bounds to the admissibility of such a defense. For example, if Amar were to testify, he can

only testify as to his knowledge and intent. While he may testify to what Javice told him or did

not tell him at any particular time, he cannot testify as to Javice’s state of mind, or whether

Javice’s statements (or lack thereof) were made to him with an intent to deceive him or anyone

else. See United States v. Avenatti, 19 Cr. 373 (PGG), 2020 WL 418453, at *14 (S.D.N.Y. Jan.

26, 2020) (a defendant “cannot premise arguments about his own alleged lack of criminal intent

on evidence of [another witness’s] state of mind, and [a defendant] cannot prove his state of

mind by attempting to show what was in [another witness’s] mind.”); Taylor v. Evans, No. 94

Civ. 8425, 1997 WL 154010, at *2 (S.D.N.Y. Apr. 1, 1997) (“musings as to defendants’

motivations would not be admissible if given by any witness—lay or expert”); United States v.

Rodriguez-Adorno, 695 F.3d 32, 38 (1st Cir. 2012) (“[T]estimony regarding culpability is a form

of lay opinion that will rarely, if ever, meet the requirements of Federal Rule of Evidence 701.”).

       Similarly, any argument that Amar’s counsel could make suggesting that Javice lied to

Amar or concealed information from him is not evidence and the jury will be properly instructed

as such. See Abakporo, 2013 WL 6188260, at *5 (holding that a defense lawyer’s opening and

closing statements that argued that her client’s co-defendant was “guilty of the crimes charged”

was “not evidence[;]” that the jury was properly instructed that the “case is not to be decided on

the rhetoric of the attorneys[;]” and the remarks were, in any event “not truly antagonistic” to the

co-defendant). It is commonplace in multi-defendant conspiracy cases that one defendant denies

guilt and suggests that another person, including a co-defendant, may be involved.            Such

arguments are the sort of classic “finger pointing” that do not justify a severance. See Scott, 637
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Fed. App’x. at 13 (2d Cir. 2015). And mere finger pointing—assuming it would, in fact, even

transpire at trial—does not warrant a severance here.

                3. Javice’s Reliance on United States v. Shkreli Is Unavailing

       The defendant’s reliance on Judge Matsumoto’s decision in United States v. Shkreli, 260

F. Supp. 3d 247 (E.D.N.Y. Aug. 5, 2020), is misplaced. In that unique case, Judge Matsumoto

severed the trial for reasons not applicable here, but on facts similar to this case, denied

severance on the basis of mutually antagonistic defenses—a holding that Javice fails to mention

in her brief.   In support of severance based on antagonistic defenses, defendant Shkreli’s

“primary defense,” like Javice’s, was that “he had no criminal intent to defraud,” whereas his co-

defendant Greebel’s defense, like Amar’s defense, was that Shkreli “lied and failed to disclose

material information to Greebel.” Id. at 244. The court concluded that a jury “could have

accepted both anticipated defenses, finding that neither defendant had intent to defraud under the

circumstances.” Id. The same is true here. A jury could accept an argument from Amar that

Javice lied to him and failed to disclose information to him and still acquit Javice, concluding

that Javice did not have an intent to defraud.

       While Judge Matsumoto did sever the Shkreli trial, her reasons for doing related to the

“extraordinary and unique” facts of that case, which are inapposite to the record here. Id. at 257

(emphasis added); see also id. at 256 (again noting the court’s “serious concerns . . . under the

unique circumstances presented (emphasis added)). In Shkreli, Greebel’s counsel represented—

in a sworn affidavit and again in open court—that he would argue at trial that “Shkreli is guilty”

and that Greebel was “a victim of Shkreli’s fraud.” Id. at 256. The Government is not aware of a

single case where a court has followed Shkreli since it was decided—an unsurprising result, in

light of Shkreli’s unique facts. See Tuzman, 301 F. Supp. 3d at 444 (declining to follow Shkreli

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in case where defendants asserted antagonistic defenses); United States v. Sezanayev, No. 17 Cr.

262 (LGS), 2018 WL 2324077, at *6 (S.D.N.Y. May 22, 2018) (declining to follow Shkreli and

noting that “is not a Second Circuit case and does not dictate the result here.”); United States v.

Carton, No. 17 Cr. 680 (CM), 2018 WL 3559172, at *4 (S.D.N.Y. Jul. 10, 2018) (declining to

follow Shkreli, and noting the unique facts of that case, including that Greebel’s counsel “swore

under oath that he intended to argue that Shkreli was guilty as sin but Greeble [sic] was simply a

victim of Shkreli’s nondisclosure.”); United States v. Dupigny, 18 Cr. 528 (JMF), 2019 WL

2327697, at *1 (S.D.N.Y. May 30, 2019) (declining to follow Shkreli when a defendant claimed a

co-defendant’s defense “may bolster the Government’s case” against that defendant); United

States v. Hameedi, No. 17 Cr. 137 (JGK) 2017 WL 5152991, at *6 n.2 (S.D.N.Y. Nov. 3, 2017)

(declining to follow Shkreli, noting that the “unique facts of that case. . . provide[] little guidance

for the disposition” of the severance motion under consideration); United States v. Chierchio, No.

20 Cr. 306 (NGG), 2022 WL 523603, at *6 (E.D.N.Y. Feb. 22, 2022) (declining to follow

Shkreli); United States v. Webb, No. 15 Cr. 252 (PKC), 2020 WL 6393012, at *5 (E.D.N.Y. Nov.

11, 2020) (same); United States v. Codner, No. 18 Cr. 609 (RJD), 2022 WL 3139119, at *2

(E.D.N.Y. Aug. 5, 2022) (same); United States v. DiScala, No. 14 Cr. 399 (ENV), 2018 WL

1187394, at *23 (E.D.N.Y. Mar. 3, 2018) (same); United States v. Mangano, No. 16. Cr. 540

(JMA), 2018 WL 851860, at *9 (E.D.N.Y. Feb. 9, 2018) (same). 5


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       The remaining cases that Javice cites in support of her motion to sever are distinguishable
or support the Government’s position. See United States v. Copeland, 363 F. Supp. 2d 223, 224
(E.D.N.Y. 2004) (finding mutually antagonistic defenses where one defendant denied
involvement in a bank robbery and a second defendant claimed that the first defendant
committed the robbery); United States v. Nordlicht, No. 16 Cr. 640 (BMC), 2018 WL 1796542
(E.D.N.Y. Apr. 16, 2018) (severing trial where one defendant conceded that the fraud occurred
and was going to argue that his co-defendants were guilty as charged); United States v. Aronson,
No. 12 Cr. 245 (ADS), ECF No. 167, at *13 (E.D.N.Y. May 23, 2013) (severing trial where a
mutually antagonistic defense arose between an attorney, who asserted that his client and co-
                                                12
       The facts here are easily distinguishable from Shkreli.          Shkreli was charged with

participating in three different schemes, whereas Greebel was charged in counts related to just

one of those schemes.      In addition, Greebel was Shkreli’s lawyer, and each took opposite

positions on whether Shkreli was open and honest with Greebel, which implicated Shkreli’s

advice-of-counsel defense and Greebel’s defense that he was deceived. Moreover, Greebel’s

counsel swore under oath, and reiterated during oral argument, that he would argue to the jury

that his co-defendant, Shkreli, was guilty and committed fraud. These “unique” circumstances,

Shkreli, 260 F. Supp. 3d at 256, 257, are not present in this case.

       Here, by contrast, Javice and Amar—a CEO and her Chief Growth Officer—are charged

in participating in the same scheme to defraud JPMC and other potential acquirors, and their

criminal conduct is deeply intertwined. Indeed, apart from Javice’s sweeping allegations, there is

nothing in the record before the Court to suggest that Amar will take the extreme position at

issue in Shkreli. To the contrary,



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                                                                                    However, even a


defendant lied to him, and a co-defendant, who argued that the attorney was provided with a
complete and truthful information); see also Chierchio, 2022 WL 523603, at *6 (holding that
“Aronson [12 Cr. 245, ECF No. 167], however, should not be taken too far. Despite the court’s
holding, the case is not a strong example of mutual antagonism. Although accepting one defense
may have gone some distance to preclude the other, reliance on advice of counsel is not a
complete, affirmative defense; it merely tends to negate the element of intent. . . . A jury
therefore likely could have believed parts of both Aaron’s and Aronson’s stories.”); Webb, 2020
WL 6393012, at *5 (declining to follow Shkreli, Nordlicht, and Aronson because there “[t]here is
no indication that [the defendants] plan to argue at trial that [a third defendant seeking severance]
was the guilty party.).
6
        In support of her argument that Amar has become her “second prosecutor,” Javice also
gestures to her speculation that Amar will seek to introduce Javice’s communications and has
declined to identify the specific communications. (Br. at 6). But whether Amar chooses to do so
or not does nothing to change the fundamental reality that Amar and Javice’s defenses are not
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defense in which Amar concedes that the representations made as to the number of customers

was inaccurate does not necessarily require the jury to convict Javice, because a jury could still

credit an argument by Javice that she did not know the statement was false at the time she made

it, and therefore, if her statement was false, it was not made intentionally. Accordingly, Javice

has not established the existence of mutually antagonistic defenses, and her request for severance

should be denied for that reason alone.

           C. Javice’s Remaining Arguments Do Not Establish Undue Prejudice, Let Alone
              Prejudice That Would Constitute a Miscarriage of Justice

       None of Javice’s remaining arguments establish any undue prejudice to either defendant,

much less run any serious risk of compromising the defendants’ trial rights or preventing the jury

from making a reliable judgment about the defendants’ guilt or innocence. Zafiro, 506 U.S. at

538-39. Far from a “miscarriage of justice,” a joint trial is entirely appropriate and fair in this

case charging a conspiracy that had only two participants, Javice and Amar, who are both

charged in each count of the Superseding Indictment for jointly undertaken criminal conduct.

See Scott, 637 F. App’x at 13.

       First, from an evidentiary perspective, there is no difference between what evidence is

admissible against Amar as opposed to Javice. The admissible evidence is the same for each

defendant—indeed, this case concerns a conspiracy with only two members, Javice and Amar—

and the Government’s presentation of its case-in-chief would be the same if the defendants are

tried jointly or tried separately. In any event, even assuming, arguendo, that there were some

difference in the admissibility of evidence against one defendant as opposed to the other—here,


mutually antagonistic under the law. More generally, Javice’s concerns about Amar's
disclosures or exhibits are wholly speculative and do not come close to meriting severance, as
explained more fully below.

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again, there is none—that would still not warrant a severance. See Rucker, 586 F.2d at 902;

United Rittweger, 524 F.3d at 179; Carson, 702 F.2d at 367.

       Javice speculates that Amar could offer evidence that is not otherwise admissible and to

her prejudice. Specifically, Javice states that Amar’s counsel has “disclosed that there are

communications they intend to introduce into evidence and use in a way that is harmful to Ms.

Javice.” (Br. at 7). Javice further states she is not “aware of the specific communications at

issue” and points to the fact that Amar lacks disclosure obligations to her. (Id. at 7-8). Javice’s

speculation has no basis in fact, and is certainly not a basis for severance. While Amar may not

have disclosure obligations to Javice, Amar maintains disclosure obligations to the Government.

Indeed, Amar recently made a Rule 16 production to the Government, of particular relevance

here, and Amar also provided a copy to Javice. Amar’s recent Rule 16 production consisted of

portions of the WhatsApp chat between Amar and Javice from the phone that the Government

seized from Amar. The Government produced this chat to both defendants shortly after the

Superseding Indictment, 7 and Javice has possessed it in its entirety for more than a year and a

half. Moreover, the Government intends to offer the communications in that chat through its

own exhibits, so severing Amar’s trial would not change the evidence before the jury. Lastly, if

Amar were seeking to offer into evidence Javice’s communications from some other source he

might possess—presently unknown to the Government and to Javice—Amar would have been

required to provide them as Rule 16 discovery. He has not done so. 8




7
       The WhatsApp chat was produced to Javice on June 6, 2023, and, following Amar’s
indictment, to Amar on July 25, 2023.
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      If Amar does produce any such Rule 16 material and does not copy Javice, the
Government would produce the materials to Javice.
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       Next, Javice’s suggestion that she could be disadvantaged from Amar’s possession of a

full extraction of Amar’s cellphone (as opposed to the responsive information from that

cellphone, which she already has), is unpersuasive and based on speculation. (Br. at 8). It is

difficult, if not impossible, to conceive of any evidence that could be exculpatory for Javice but

not Amar; indeed, the Government alleges that the defendants conspired with only one another

and no one else. Finally, it bears noting that in totality the Government has already produced in

discovery the entirety of Javice’s and Amar’s emails during the relevant time period, the relevant

messages from Amar’s phone, and thousands of pages of search warrant returns.                 The

Government is unaware of additional communications by Javice that only Amar would possess,

and if any existed Amar would have had to produce them to the Government and Javice under

Rule 16 in order to use them in his case—which, as noted, he has not. Accordingly, Javice’s

unfounded speculation plainly does not establish any compromise of Javice’s trial rights or rise

to the level of a “miscarriage of justice.” Rucker, 586 F.2d at 902 ; see also Zafiro, 506 U.S. at

538-39.

       Separately, Javice also claims that the contents of Amar’s attorney proffers create

potential issues under Bruton v. United States, 391 U.S.123, 126 (1968). This argument is

specious. The notes of these proffers are not admissible against Javice as a statement of a co-

conspirator, because they were made, through counsel, after the conspiracy ended. Nor is there

any theory of admissibility under which Amar could offer into evidence the notes of his

counsel’s attorney proffer—as a defendant cannot offer his own, out-of-court statement into

evidence. Accordingly, a joint trial does not implicate the Bruton doctrine or Javice’s rights

under the Confrontational Clause.



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       Finally, even assuming, arguendo, there was some risk of potential prejudice to Javice,

any potential prejudice can be cured by limiting instructions and does not require severance.

See, e.g., Zafiro, 506 U.S. at 538-39; Abakporo, No. 12-CR-340 (SAS), 2013 WL 6188260, at

*3. To be sure, there are instances where district judges have found in their discretion that

limiting instructions are not sufficient to cure prejudice, see Br. at 10 (citing cases), but such

instances are the exception and not the rule. See United States v. Snype, 441 F.3d 119, 129 (2d

Cir. 2006) (“[T]he law recognizes a strong presumption that juries follow limiting instructions.”).

And as explained above, there is nothing exceptional about the potential for “finger pointing”

between the two co-conspirators in this trial. Accordingly, to the extent any risk of prejudice to

Javice is presented by Amar’s defense, the Court can adequately address it through appropriate

limiting instructions to which the Government will have no objection.

           D. Principles of Judicial Economy Favor A Joint Trial

       A severance would not be in the interests of judicial economy. Javice and Amar are both

charged in each count of the Superseding Indictment. The evidence against Javice and Amar is,

accordingly, inextricably intertwined: Javice and Amar acted together as the only two members

of a criminal conspiracy throughout the charged offenses. There is thus not a single witness who

would testify in Javice’s trial that would not testify in Amar’s trial, or vice versa. No witness

testimony would be significantly shorter in one defendant’s trial as opposed to the other. And the

Government’s exhibits would be the same in either trial. After all, the conspiracy charged in

Count One of the Superseding Indictment to defraud JPMC, Bank-1, and other potential

acquiring companies had only two members: Javice and Amar. Thus in a trial of just one of the

defendants, the Government must still prove beyond a reasonable doubt that both Javice and

Amar acted with criminal intent, because it must prove that a criminal conspiracy (involving at

                                                17
least two people) existed. Cf. Shkreli, 260 F. Supp. at 250-52 (one defendant charged in eight

counts whereas the other defendant was charged in only two). Stated simply, a severance would

mean that the same complex, multi-week trial would be tried twice. This needless burden on the

Court and its resources, on two separate petit juries, and on lay and victim witnesses (some of

whom do not live in New York and must travel), is not justified by Javice’s conclusory, eleventh-

hour assertions that Amar’s defenses are now mutually antagonistic.

           E. The Court Should Order Javice to Provide the Government with an
              Unredacted Brief

       Javice’s motion to sever is plainly without merit, and the Court should deny it for the

reasons set forth above. However, should the Court determine that there are potentially mutually

antagonistic defenses between Javice and Amar, the Government respectfully requests the Court

to order Javice to provide the Government with an unredacted brief, so that it may have an

opportunity to respond fully to her arguments.

       Javice’s redactions are improper.       Javice has told the Government that lifting her

redactions would reveal both her and Amar’s defense strategy; however, Javice made a tactical

decision to rely on those defense strategies in support of her motion, and her redactions will

prevent the Government from responding fully and deprive the Court of a full record to decide

her motion.    See United States v. Badalamenti, 663 F. Supp. 1542, 1545 (S.D.N.Y. 1987)

(denying the defendant’s request to seek severance on an ex parte basis) (“[W]hen [defense]

counsel moved for severance before trial based on anticipated inconsistency of defenses, he

declined to explain the claimed inconsistency unless in an ex parte conference. [Judge Leval]

refused to receive ex parte representations without good cause. A defendant has the right, if he

chooses, to maintain secrecy as to the strategy of his defense, but if in opting for secrecy he gives

up the opportunity to present arguments to the court in support of his motions, that is his own
                                                 18
tactical decision.”). In those cases where a defendant has filed an ex parte submission regarding

severance, it was with a court’s prior approval, and with the court further indicating that the

Government may be entitled to such submissions in order to full respond to a defendant’s

arguments. See United States v. Jones, No. 85 Cr. 1075 (CSH), 1986 WL 7787, at *1 (S.D.N.Y.

July 10, 1986) (prior to filing severance motion, defendants sought and obtained permission from

the Court to submit ex parte affirmations as to the issue of antagonistic defenses on a preliminary

basis; in denying the motion, court explicitly acknowledged that “if the ex parte submission

raised questions of substance about pre-trial severance, the Government would have to be put in

a position to make an informed reply”); United States v. Morales-Guanill, No. 12 Cr. 215 (DRD),

2014 WL 4983857 (D.P.R. Oct. 6, 2014), report and recommendation adopted, 77 F. Supp. 3d

258 (D.P.R. 2015) (recommending that the Court deny the defendant’s motion to sever, which

was premised, in part, on ex parte submissions, but only after entering an order that revealed

portions of the defense’s ex parte submissions to the government, adding that the government

must be put “on notice to the greatest extent possible of the movants’ reasons for requesting

severance). 9

       Accordingly, if the Court is inclined to find that Javice has raised a mutually antagonistic

defense, the Court should order Javice to provide the government with an unredacted brief, so

that the Government may respond fully to her motion.

9
        The Government understands from its discussions with Javice’s counsel that she also
relies on United States v. Daughtry, 09 Cr. 1132 (DAB), 724668, at *4 (S.D.N.Y. Feb. 25, 2011),
and United States v. Gomez, 17 Cr. 602 (JMF), 2018 WL 501607, at *3 n.2 (S.D.N.Y. Jan. 19,
2018), in support of her redactions. Both cases are inapposite. In Daughtry, the court allowed
defense counsel to submit ex parte submissions concerning the breakdown a defendant’s
relationship with prior counsel—but not on the issue of antagonistic defenses. Daughtry, 2011
WL 724668, at *4. Gomez is irrelevant, as it concerns an application by a defendant to seek
disclosure of the identity of a confidential informant; while defense counsel in that case made an
ex parte submission, Judge Furman decided the motion on the basis of the public record. Gomez,
2018 WL 501607, at *3 n.2
                                                  19
                                       CONCLUSION
       For the foregoing reasons, Javice’s severance motion should be denied and both

defendants should be tried beginning on February 10, 2025.

Dated: New York, New York
       January 17, 2025



                                           Respectfully submitted,

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                                           Authority Conferred by 28 U.S.C. § 515


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